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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GIFFORDS
 P.O. Box 51196
 Washington, DC 20091,
                 Plaintiff,

                        v.                            Civil Action No._______________

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA POLITICAL VICTORY FUND,
 11250 Waples Mill Road Fairfax, VA 22030,

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA INSTITUTE FOR
 LEGISLATIVE ACTION, 11250 Waples
 Mill Road Fairfax, VA 22030,

 MATT ROSENDALE FOR MONTANA,
 P.O. Box 4907, Helena Montana, 59604, and

 JOSH HAWLEY FOR SENATE, P.O. Box
 31476, St. Louis, MO 63131,

                   Defendants.


                                           COMPLAINT

       Over the past seven years, the National Rifle Association (“the NRA”) has engaged in an

ongoing scheme to evade campaign finance regulations by using a series of shell corporations to

illegally but surreptitiously coordinate advertising with at least seven candidates for federal office.

Through this scheme, two NRA affiliates made up to $35 million in illegal, excessive, and

unreported campaign contributions across the 2014, 2016, and 2018 elections, including up to $25

million to the Trump Campaign in 2016. These coordinated contributions violate the Federal

Election Campaign Act’s (“FECA”) contribution limits, corporate contribution ban, and disclosure

requirements.

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       1.      Plaintiff Giffords brings this action under 52 U.S.C. § 30109(a)(8)(C) to remedy

violations of FECA’s contribution limits, corporate contribution ban, and disclosure requirements.

       2.      Two NRA affiliates, National Rifle Association of America Political Victory Fund

(“NRA-PVF”) and National Rifle Association of America Institute for Legislative Action (“NRA-

ILA”) (collectively, the “NRA Affiliates”), have maintained a long-running and continuous

scheme to make illegal, excessive, and unreported in-kind campaign contributions to candidates

for federal office since at least the 2014 election cycle.

       3.      During this time, NRA-PVF and NRA-ILA have made as much as $35 million in

illegal campaign contributions to seven federal candidates, including to the Senate campaigns of

Thom Tillis, Tom Cotton, Cory Gardner, Ron Johnson, Matt Rosendale, and Josh Hawley, and to

the Presidential campaign of Donald J. Trump.

       4.      NRA-PVF and NRA-ILA coordinated with the above-mentioned candidates by

contracting with a common vendor. Both the NRA Affiliates and the candidates purchased

advertisements through the political consultancy OnMessage/Starboard, which operates as

“OnMessage” when it acts on behalf of candidates and as “Starboard” when it acts on behalf of

the NRA. Likewise, the NRA Affiliates and the candidates placed campaign ads through a vendor

named National Media, which purports to operate as “American Media and Advertising Group”

(“AMAG”) when it acts on behalf of candidates and “Red Eagle” when it acts on behalf of the

NRA Affiliates.

       5.      OnMessage/Starboard and National Media/Red Eagle/AMAG are functionally

indistinguishable. They are led by the same people, located at the same address, and have no

internal separation or firewall between the staff who work for each entity. Indeed, the same staff



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performed work for both the NRA Affiliates and the candidates’ campaigns during the same

election cycles.

       6.      Plaintiff Giffords has been, and continues to be, injured by the NRA Affiliates’

illegal campaign contributions. Giffords is a gun safety organization that exists in part to compete

with the NRA and the candidates and policies it supports. Giffords directly opposed the campaigns

of several of the candidates who participated in the NRA scheme and who benefited from the NRA

Affiliates’ illegal contributions. Giffords also continues to engage in legislative advocacy for

positions each of the NRA’s beneficiaries has opposed while in office. Giffords is injured by the

competitive advantages the NRA has obtained by flouting campaign finance laws.

       7.      To remedy its injuries, Plaintiff filed four administrative complaints with the

Federal Election Commission (“FEC” or “Commission”), which demonstrated that NRA-PVF and

NRA-ILA made illegal, unreported, and excessive in-kind contributions, in the form of

coordinated communications, to the campaigns of Thom Tillis, Tom Cotton, and Cory Gardner in

2014, Donald J. Trump and Ron Johnson in 2016, and Matt Rosendale and Josh Hawley in 2018.1

       8.      On April 24, 2019, after the FEC failed to act on any of the complaints for more

than 120 days, Giffords filed suit against the Commission under 52 U.S.C. § 30109(a)(8)(A). The



1
    See      Tillis      et       al.,       Am.        Complaint       (Aug.       9,        2018),
https://campaignlegal.org/sites/default/files/2021-10/8-9-18%20CLC-
Giffords%20NRA%20Complaint%20%28final%20with%20exhibits%29.pdf;                          Rosendale
Complaint      (Sept.    17,     2018),          https://campaignlegal.org/sites/default/files/2018-
09/CLC%20Complaint%20to%20FEC%20Against%20Rosendale%20%2B%20NRA.pdf.;
Rosendale Supplement (Feb. 7, 2019), https://campaignlegal.org/sites/default/files/2019-
02/Additional%20Facts%20NRA%20and%20Rosendale.pdf; Hawley Complaint (Oct. 22, 2018),
https://campaignlegal.org/sites/default/files/2018-10/10-22-
18%20NRA%20Hawley%20Complaint%20%28final%29.pdf; Trump Complaint (Dec. 7, 2018),
https://campaignlegal.org/sites/default/files/2018-12/12-07-
18%20Trump%20NRA%20complaint%20%28final%29.pdf. Collectively, the Tillis, Rosendale,
Hawley, and Trump Complaints are referred to herein as the “Administrative Complaints,” or the
“Complaints.”
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U.S. District Court for the District of Columbia denied the FEC’s motion for summary judgment

and granted Giffords’s cross-motion for summary judgment on September 30, 2021, finding that

the FEC’s failure to act on the complaints was contrary to law, and ordering the FEC to act on

Giffords’s complaints within 30 days by making a reason-to-believe determination under 52

U.S.C. § 30109(a)(2). Order, Giffords v. FEC, No. 1:19-cv-1192 (D.D.C. Sept. 30, 2021).

       9.      The FEC’s 30-day period to conform with the Court’s order expired without action

by the FEC. On November 1, 2021, the Court issued an Order declaring that the FEC had “failed

to conform” to the September 30 Order and ordering that, “pursuant to 52 U.S.C. § 30109(a)(8)(C),

Plaintiff Giffords “may bring ‘a civil action to remedy the violations involved in the original

complaints’” against the NRA. Order, ECF 75, Giffords v. FEC, 1:19-cv-1192 (D.D.C. Nov. 1,

2021). Plaintiff Giffords now brings this civil action against the NRA to “remedy the violations

involved in the original complaints.” 52 U.S.C. § 30109(a)(8)(C).

                                JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action under 52 U.S.C.

§ 30109(a)(8)(A) and 28 U.S.C. § 1331.

       11.     This Court has personal jurisdiction over Defendants NRA-PVF, NRA-ILA, Matt

Rosendale for Montana, and Josh Hawley for Senate pursuant to D.C. Official Code § 13-423,

because all four entities transact business within the District of Columbia, including the regular

filing of campaign finance reports with the FEC. See also Fed. R. Civ. P. 4(k).

       12.     Venue lies in this district under 28 U.S.C. § 1391(b)(2), because a substantial part

of the events and omissions giving rise to the claims alleged herein took place in the District of

Columbia, including the filing of unlawful campaign finance reports with the FEC.




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       13.     This Court has authority to issue declaratory and injunctive relief under 28 U.S.C.

§§ 2201(a) and 2202, and 52 U.S.C. § 30109(a).

                                          THE PARTIES

       14.     Plaintiff Giffords is a nonpartisan, nonprofit 501(c)(4) organization headquartered

in Washington, D.C., that is dedicated to saving lives from gun violence.

       15.     Founded and led by former Congresswoman Gabrielle Giffords, the organization

researches, writes, and proposes policies designed to reduce gun violence and mobilizes voters and

lawmakers in support of safer gun laws. Giffords educates political candidates about issues and

policies related to gun violence, and supports candidates for local, state, and federal office who

favor strong gun-violence-prevention laws. Many candidates supported by Giffords are opposed

by the NRA.

       16.     Giffords was founded in 2013 under the name Americans for Responsible Solutions

(“ARS”), and was renamed Giffords in October 2017. It works in concert with two sister entities

to end gun violence in America. In addition to the 501(c)(4) entity headquartered in Washington,

D.C., Giffords has a sister organization, Giffords Law Center to Prevent Gun Violence, a nonprofit,

nonpartisan 501(c)(3) based in San Francisco that works to research, write, enact, and defend laws,

policies, and programs proven to reduce gun violence and save lives. Giffords’s political action

committee, Giffords PAC, supports and endorses candidates and elected officials who promote

policies to reduce gun violence and oppose the influence of the gun industry and the NRA,

including by making political contributions and independent expenditures.

       17.     Congresswoman Giffords founded Giffords for the express purpose of competing

with the NRA. On the day they launched the organization that would become Giffords,

Congresswoman Giffords co-wrote an op-ed with her husband and co-founder, Mark Kelly, in



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which they defined their organizational mission in opposition to “the NRA leadership’s defiant

and unsympathetic response to the Newtown, Conn., massacre.”2 In a book they co-wrote the

following year, they elaborated that Giffords’s mission is to “balance the debate, shelter politicians

bombarded by NRA attacks, and advocate for stronger gun-violence laws.”3

       18.     On Election Night 2020—a night on which Trump, Tillis, Cotton, Gardner, and

Rosendale each competed again for election to federal office after benefitting from the NRA

Affiliates’ illegal, unreported, and excessive in-kind contributions during previous runs—the

Congresswoman returned to these themes and reflected on the role of the NRA in Giffords’s origin

story: “When we launched our organization in 2013,” she recalled, “our goal was to challenge the

gun lobby. To make sure public safety was always prioritized over gun industry profits. To fight

for a future where our children wouldn’t grow up fearing the sound of gunfire. Six years ago, the

problem wasn’t that the NRA couldn’t lose—the problem was that not enough people were

challenging them.”4 Giffords’s ability to pursue that challenge is unlawfully obstructed when the

NRA flouts campaign finance laws in support of candidates Giffords exists, in part, to oppose.

       19.     Giffords has a demonstrated mission of “electing gun safety champions” and has

devoted substantial resources to this goal since its founding in 2013.5 Indeed, Giffords PAC has

spent over $10 million supporting gun safety candidates in every federal election cycle since 2014.6




2
    Gabrielle Giffords & Mark Kelly, Giffords and Kelly: Fighting Gun Violence, USA TODAY
(Jan. 8, 2013), https://www.usatoday.com/story/opinion/2013/01/07/gabby-giffords-mark-kelly-
tucson-shooting-gun-control/1816383/.
3
    Gabrielle Giffords & Mark Kelly, Enough 236 (2014).
4
    Press Release, Giffords Took on the NRA and Won, GIFFORDS (Nov. 8, 2018),
https://giffords.org/press-release/2018/11/post-election-memo/.
5
    Elections, GIFFORDS, https://giffords.org/elections/ (last visited Nov. 1, 2021).
6
    Americans for Responsible Solutions PAC – 2014 cycle, PROPUBLICA,
https://projects.propublica.org/itemizer/committee/C00540443/2014 (last visited Nov. 1, 2021).
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       20.    In 2014, Giffords PAC, operating under its previous name, ARS PAC, spent $1.3

million in support of Thom Tillis’s opponent Kay Hagan, and over $272,000 in support of Cory

Gardner’s opponent Mark Udall. Giffords opposed candidate Trump in his 2016 campaign, and

Congresswoman Giffords endorsed his general election opponent, Hillary Clinton. In addition,

Giffords PAC made $510 in in-kind contributions to Hillary for America. Giffords also supported

Ron Johnson’s 2016 opponent, Russ Feingold, and Giffords PAC made a $5,000 contribution to

Feingold’s campaign. In 2018, Giffords opposed both Josh Hawley and Matt Rosendale, and

Giffords PAC made a $5,000 contribution to Hawley’s opponent Claire McCaskill, and a $2,500

contribution to Rosendale’s opponent Jon Tester.

       21.    In 2020, Giffords opposed President Trump’s reelection campaign, and again,

Congresswoman Giffords endorsed his general election opponent. Giffords PAC also contributed

$10,000 to the Biden Victory Fund in 2020. In 2020, Giffords also opposed the candidacies of

Thom Tillis and Cory Gardner, and Giffords PAC contributed $5,000 each to Tillis opponent Cal

Cunningham and Gardner opponent John Hickenlooper. Giffords PAC also made a total of

$10,000 in contributions to the Hickenlooper Victory Fund.

       22.    In addition to campaign spending, in 2020 Giffords PAC endorsed 252 candidates

for a variety of offices, held over 40 events to support gun safety candidates, reached over 1.5

million viewers through digital campaign events, and earned over 16 million views of its

#GunSafetyPresident campaign video.7

       23.    The NRA Affiliates’ illegal, unreported, and excessive contributions to candidates

give the NRA a competitive advantage over Giffords. The NRA Affiliates’ unlawful conduct




7
    Giffords     Efforts  in    the     2020     Election,    GIFFORDS    (Nov.    2,    2020),
https://giffords.org/memo/giffords-efforts-in-the-2020-election/.
                                               7
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impairs Giffords’s ability to compete with the NRA to elect candidates and enact policies that align

with Giffords’s mission to reduce gun violence.

       24.     Defendants are NRA Affiliates the National Rifle Association of America Institute

for Legislative Action (“NRA-ILA”) and the National Rifle Association of America Political

Victory Fund (“NRA-PVF”). The NRA describes itself as “America’s foremost defender of

Second Amendment rights” and as a “major political force” in American politics.8

       25.     NRA-ILA is a corporation holding tax-exempt status under Section 501(c)(4) of the

Internal Revenue Code that describes itself as “the ‘lobbying’ arm of the NRA.”9 NRA-PVF is the

NRA’s primary political committee (“PAC”). Both entities report federal campaign finance

expenditures to the FEC in Washington, D.C. Together, NRA-PVF and NRA-ILA reported $110.8

million in expenditures to the FEC between 2014 and 2018, up to $35 million of which was spent

in coordination with the seven candidates named in this complaint.

       26.     Matt Rosendale was a candidate for the United States Senate in Montana in 2018.

Matt Rosendale for Montana is his authorized campaign committee. Rosendale lost his 2018

campaign, but currently serves in the U.S. House of Representatives.

       27.     Josh Hawley was a candidate for U.S. Senate in Missouri in 2018. Josh Hawley for

Senate is his authorized campaign committee. Hawley has declared his intent to run for re-election

in 2024, and is widely reported to be considering a run for President.




8
    A Brief History of the NRA, NATIONAL RIFLE ASSOCIATION, https://home.nra.org/about-the-
nra/, (last visited Nov. 1, 2021).
9
    NATIONAL RIFLE ASSOCIATION INSTITUTE FOR LEGISLATIVE ACTION, https://www.nraila.org/
(last visited Dec. 4, 2018).
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                                      LEGAL FRAMEWORK

I.     Contributions Under FECA

       28.     FECA limits the dollar amounts of contributions to federal candidates and their

campaign committees and prohibits contributions from certain sources, including from a

corporation’s treasury funds.10 52 U.S.C §§ 30116(a)(1), 30118(a).

       29.     In the 2014 cycle, the limit on contributions to candidates from most persons was

$2,600 per election; in the 2016 and 2018 cycles, that limit was $2,700. The limit on contributions

to a candidate from a multicandidate political committee in each of these cycles was $5,000 per

election. 52 U.S.C. § 30116(a)(2)(A).

       30.     A “contribution” includes “any gift, subscription, loan, advance, or deposit of

money or anything of value made by any person for the purpose of influencing any election for

Federal office.” 52 U.S.C. § 30101(8)(A)(i); see also 11 C.F.R. §§ 100.52(a), 114.1(a)(1).

“Anything of value” includes all in-kind contributions. 11 C.F.R. § 100.52(d)(1). An in-kind

contribution includes the provision without charge (or at less than the usual and normal charge) of

any goods or services, including, but not limited to, “facilities, equipment, supplies, personnel,

advertising services, membership lists, and mailing lists.” Id.

       31.     In contrast to contributions, expenditures are generally not subject to limits. A

corporation like NRA-ILA, or a political committee like NRA-PVF, may make unlimited

expenditures on advertising that expressly advocates the election or defeat of a candidate, provided

that those expenditures are made independently of any candidate. Any expenditure made in

coordination with a candidate, however, including for a “coordinated communication,” is an in-




10
   Contributions to candidates from a separate segregated fund established by a corporation (an
“SSF,” also commonly known as a corporate PAC) are permissible, but subject to amount limits.
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kind contribution to the candidate, subject to contribution limits and the corporate contribution

ban, 52 U.S.C. § 30116(a)(7)(B)(i); 11 C.F.R. § 109.20, and must be reported as a contribution to

that candidate by the person that made the payment, 11 C.F.R. § 109.21(b).

       32.     Under FEC regulations, a “coordinated communication” is a communication that

(1) is paid for, in whole or in part, by a person other than the candidate or committee; (2) “expressly

advocates . . . the election or defeat of a clearly identified candidate for Federal office;” and (3)

satisfies at least one of the “conduct standards” in the regulation, such as the use of a “common

vendor.” 11 C.F.R. § 109.21(a), (d).

       33.     The second prong, the “content standard,” is met if the communication “expressly

advocates . . . the election or defeat of a clearly identified candidate for Federal office.” Id.

§ 109.21(c)(3).

       34.     The third prong, the common vendor “conduct” standard, is satisfied when (a) the

person paying for the communication contracts with a commercial vendor that (b) during the

previous 120 days also provided services to the candidate, such as media strategy, advertising

content and placement, or other political or media related advice; and (c) the vendor uses or

conveys information about the candidates’ strategies, plans, activities and needs, and that

information is material to the “creation, production, or distribution” of the communications in

support of that candidate. 11 C.F.R. § 109.21.

       35.     An outside group that makes coordinated expenditures must report them as a

contribution to the candidate, subject to the contribution limits and source restrictions discussed

above. Corporations are prohibited from making such in-kind contributions, while in-kind

contributions from political committees are subject to the $5,000 contribution limit. 52 U.S.C

§§ 30116(a)(2), 30118(a).



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       36.     Candidates must report a coordinated expenditure as a contribution received only

when they engage in conduct that demonstrates that they suggested or assented to the coordinated

communication; are materially involved in decisions regarding the content, audience, means or

mode, media outlet used, timing or frequency, or size, prominence, duration of the communication;

or where “information about the candidate’s or political party committee’s campaign plans,

projects, activities, or needs is conveyed to a person paying for the communication, and that

information is material to the creation, production, or distribution of the communication.” 11

C.F.R. § 109.21(b)(3), (d)(1)-(3).

II.    Private Right of Action Under FECA

       37.     Any person who believes there has been a violation of FECA may file a sworn

complaint with the FEC under 52 U.S.C. § 30109(a)(1). If the FEC fails to act on the complaint

within 120 days, FECA provides that the administrative complainant may file a civil action against

the FEC, and “the court may declare that . . . the failure to act is contrary to law, and may direct

the Commission to conform with such declaration.” 52 U.S.C. § 30109(a)(8)(C).

       38.     If the FEC fails to conform to an order declaring that its failure to act is contrary to

law, FECA provides that “the complainant may bring, in the name of such complainant, a civil

action to remedy the violation involved in the original complaint.” 52 U.S.C. § 30109(a)(8)(C).

                                      FACTUAL BACKGROUND

I.     The Common Vendor Schemes

       39.     Since at least 2014, NRA-PVF and NRA-ILA have funneled millions of dollars to

candidates for federal office in the form or illegal, excessive, and unreported contributions,

including to Thom Tillis, Tom Cotton, and Cory Gardner in 2014, Ron Johnson and Donald Trump

in 2016, and Matt Rosendale and Josh Hawley in 2018.



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       40.     In contravention of the FEC’s common vendor coordination rules, the NRA

employs two interconnected and ongoing schemes, both of which use a network of shell

corporations to coordinate political ad spending and placement with candidate campaigns. These

schemes allow the NRA to evade federal contribution limits and shield millions of dollars of

political spending from public scrutiny in violation of FECA.

       41.     At the center of the first scheme is political consulting firm OnMessage.

OnMessage has performed contracting work for dozens of campaigns and political committees.

       42.     OnMessage operates as one with its corporate alter ego, Starboard Strategic, Inc.

(“Starboard”), which is linked to OnMessage through shared addresses, shared board members

and staff, and public statements and reporting.

       43.     At the center of the second scheme is National Media Research, Planning &

Placement, LLC (“National Media”), a media and political strategy firm. National Media is linked

to two additional corporate entities: Red Eagle Media (“Red Eagle”) and American Media &

Advocacy Group (“AMAG”).

       44.     As of 2018, the Virginia State Corporation Commission listed the principal office

for OnMessage as 815 Slaters Lane in Alexandria, Virginia. At the same time, the OnMessage

website listed its Virginia address as 817 Slaters Lane in Alexandria. 815 and 817 Slaters Lane

consist of a pair of adjacent brick buildings that share a parking lot. OnMessage has an additional

office in Annapolis, Maryland, located at 705 Melvin Avenue #105.

       45.     According to FEC records, NRA-PVF and NRA-ILA paid Starboard at both

OnMessage’s Alexandria and Annapolis addresses.

       46.     National Media also has a principal office at 815 Slaters Lane. As of 2018, a

business entity search on the Virginia State Corporation Commission website for either Red Eagle



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or AMAG redirected to the National Media Page listing the 815 Slaters Lane address. At that time,

the National Media website, like the OnMessage website, listed an office address of 817 Slaters

Lane.

        47.     Within these entities, the same individuals develop advertising content and place

ads for both the NRA and the candidates. For example, OnMessage Founding Partner and

Starboard Director Bradley Todd has been described in news reports as a media strategist for Thom

Tillis, and as an ad or media consultant for Cory Gardner, Tom Cotton, Ron Johnson, and Josh

Hawley. NRA employees reported seeing Todd around their office and described him as a

consultant on whom former NRA-ILA Executive Director Chris Cox11 relied for issues deemed

“controversial.”

        48.     Similarly, at least four National Media employees who placed ads for NRA-ILA

and NRA-PVF as Red Eagle also placed ads as AMAG for the candidates supported by NRA-ILA

and NRA-PVF.

        49.     OnMessage, together with Starboard, acts as a single common vendor for

advertising content development and media strategy. Similarly, National Media, together with Red

Eagle and AMAG, acts as a single common vendor for advertising placement and strategy. Using

the OnMessage/Starboard and the National Media/Red Eagle/AMAG common vendor schemes,

the NRA has engaged in an ongoing effort to conceal up to $35 million in contributions to at least

seven candidates for federal office since 2014.

        50.     The following graphic illustrates how the NRA’s ongoing coordination scheme

operates:



11
    Cox was also chairman of the NRA-PVF. See, e.g., Mike Spies, The Mystery Firm That
Became the NRA’s Top Election Consultant, POLITICO (July 13, 2018),
https://www.politico.com/magazine/story/2018/07/13/mystery-firm-nra-consultant-219004.
                                                  13
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               A.     The Starboard Scheme

       51.     Under the first scheme, NRA-PVF and NRA-ILA pay Starboard for advertising

expenditures in support of a candidate for federal office, while the candidate pays OnMessage for

its own advertising expenditures.

       52.     OnMessage and Starboard are functionally indistinguishable—they are led by the

same people and located at the same address, and no internal separation or firewall exists between

the staff who work for each entity. As of 2018, the websites for OnMessage and Starboard used
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the same or highly similar language to describe their services. OnMessage has been nominated for,

and has accepted, industry awards for NRA-PVF and NRA-ILA ads contracted through Starboard.

       53.     Prior to Starboard’s incorporation, NRA-PVF paid OnMessage millions of dollars

for expenditures related to television and radio advertising during the 2010 and 2012 election

cycles. NRA-ILA paid OnMessage over $3.5 million for expenditures described as advertising

expenses during the 2012 election cycle.

       54.     Once Starboard was incorporated, NRA-PVF and NRA-ILA stopped making

payments to OnMessage and began making payments to Starboard.

       55.     In the 2014 cycle, NRA-PVF and NRA-ILA reported payments to Starboard of

approximately $20.5 million combined for expenditures and other disbursements related to

television, radio, and digital advertising.

       56.     In the 2016 cycle, NRA-PVF and NRA-ILA together reported payments to

Starboard of approximately $40.7 million in expenditures and other disbursements related to

television, radio, and digital advertising.

       57.     In the 2018 cycle, NRA-PVF and NRA-ILA reported payments to Starboard of

approximately $10.6 million for expenditures and disbursements related to advertising. During

these election cycles, the candidates in support of whom NRA-PVF and NRA-ILA paid Starboard

millions of dollars all made significant payments to OnMessage for their own advertising.

       58.     As of 2018, aside from less than $20,000 in business with the National Republican

Congressional Committee, the NRA is Starboard’s only federal election client, according to FEC

records.




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                  B.     The National Media Scheme

          59.     Under the second scheme, NRA-PVF and NRA-ILA coordinate ad placements with

candidates through National Media, a group that describes itself as “a nationally recognized leader

in media research, planning, and placement for issue advocacy, corporate, and political

campaigns.”12

          60.     NRA-PVF and NRA-ILA use National Media, doing business as Red Eagle, to

place their advertisements in support of candidates. At the same time, the candidates use National

Media affiliate AMAG to place their own advertisements.

          61.     According to corporate records, National Media does business under the name Red

Eagle. AMAG is an affiliate of National Media, and the two entities share a registered agent.

According to Virginia state records, all three entities share an address at 815 Slaters Lane in

Alexandria. National Media also lists 817 Slaters Lane as its office address—the same Virginia

address     as    OnMessage/Starboard.    National    Media    employees     have   signed    Federal

Communications Commission (“FCC”) filings on behalf of both Red Eagle and AMAG.

II.       The NRA’s Coordinated Contributions to Candidates

          62.     Taken together, the Starboard and National Media schemes represent a continuous

and ongoing pattern and practice by the NRA, through NRA-PVF and NRA-ILA, to illegally

coordinate advertising spending with candidates for federal office through a common vendor, and

to shield their illegal acts from federal regulators through the use of shell corporations.

          63.     Since at least the 2014 election cycle, NRA-PVF and NRA-ILA have coordinated

with candidate campaigns to develop advertisements through a common vendor, using a shell

company associated with political consulting firm OnMessage. Since at least the 2016 election



12
     NATIONAL MEDIA, https://natmedia.com/ (last visited Nov. 1, 2021).
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cycle, NRA-PVF and NRA-ILA have additionally coordinated with candidate campaigns to place

advertisements in complementary fashion, including on the same stations and programs, using

shell companies associated with media strategy firm National Media.

        64.     By coordinating their advertising strategy in this manner, NRA-PVF and NRA-ILA

have made up to $35 million in contributions to candidate campaigns since the 2014 election, in

excess of the contribution limits, in violation of the source restrictions, and without the disclosure

required under federal law. This includes up to $25 million in coordinated, illegal contributions to

the Trump campaign in 2016.

        65.     The NRA has continued its illegal coordination scheme at least through the 2020

election cycle, employing yet another National Media related shell corporation, Harris Sikes Media

LLC, to place television and radio ads in coordination with the Donald J. Trump 2020 presidential

campaign.13

        A.      Pre-2014 Election Cycle

        66.     OnMessage was registered in Virginia on April 13, 2005 and was incorporated in

Maryland on April 20, 2006. Its website provides detailed information about its staff, past clients,

and portfolio of work.14

        67.     In the 2010 election cycle, NRA-PVF reported paying OnMessage over $4.5

million, primarily for television and radio ad production, including approximately $3.2 million for

federal independent expenditures, according to reports filed with the FEC in Washington, D.C.

NRA-ILA did not disclose any payments to OnMessage for the 2010 election cycle on its reports

filed with the FEC.




13
     See Notice of Supplemental Evidence, Giffords v. FEC, 1:19-cv-1192 (Oct. 8, 2020).
14
     ONMESSAGE, INC., https://onmessageinc.com/ (last visited Nov. 1, 2021).
                                                 17
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        68.     In the 2012 election cycle, NRA-PVF reported paying OnMessage $7.7 million for

independent expenditures and $42,866 in other disbursements. All of the independent expenditure

payments were for advertising expenses, and the disbursements were also for television and radio

advertising expenses.

        69.     In the 2012 election cycle, NRA-ILA reported paying OnMessage over $3.5 million

for independent expenditures described as advertising expenses.

        70.     On March 22, 2013, Starboard was incorporated in Virginia by OnMessage

officials. The incorporation certificate lists five directors: Curtis Anderson, Wesley Anderson,

Bradley Todd, Graham Shafer, and Timothy Teepell. At the time, three of those directors— Curtis

Anderson, Wesley Anderson, and Todd—were also directors at OnMessage. By the following

year, 2014, Shafer and Teepell had been added to OnMessage’s board, as was Orrin “Guy”

Harrison; Harrison, in turn, was added to Starboard’s board the year after, in 2015. As of 2018,

both Starboard’s and OnMessage’s boards still consisted of these same six directors (Anderson,

Anderson, Todd, Shafer, Teepell, and Harrison). As of 2018, Starboard’s registered agent, Craig

M. Palik, was also the registered agent for OnMessage Holdings, Inc.

        71.     According to a Politico report, “[i]nternal emails indicate executives toggled

between roles” at both Starboard and OnMessage, and that “none of Starboard’s partners has

publicly affiliated himself with the company; four of them have LinkedIn pages, for instance, and

their profiles only mention OnMessage.”15




15
     Spies, supra note 11.
                                               18
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                B.    2014 Election Cycle

       72.      NRA-PVF and NRA-ILA reported paying approximately $20.5 million to

Starboard for “independent” expenditures and other disbursements related to advertising for the

2014 cycle.

       73.      The NRA’s 2014 “focus” included “three major Senate races,” and was aimed at

“boosting Republican Senate challengers in Arkansas, Colorado and North Carolina,” according

to published reports.16 Reports filed with the FEC show that NRA-PVF supported candidates in

these three U.S. Senate races—Tom Cotton, Cory Gardner, and Thom Tillis—with expenditures

contracted through Starboard. NRA-ILA also supported two of these candidates—Gardner and

Tillis—with expenditures contracted through Starboard. At or around the same time, these same

three candidates were contracting with OnMessage for advertising and media consulting. During

this time, OnMessage founder and Starboard Director Brad Todd served as a “media strategist” or

“consultant” for Tillis, Cotton, and Gardner.

       74.      In the North Carolina race, NRA-PVF paid $2.3 million and NRA-ILA paid

$812,658 to Starboard for “independent” expenditures supporting Tillis or opposing his opponent

during the 2014 cycle. Tillis’s authorized campaign committee, the Thom Tillis Committee,

reported paying OnMessage $6.6 million during the same cycle for advertising and media

consulting. The Thom Tillis Committee reported disbursements to OnMessage at the 705 Melvin

Ave. #105 address in Annapolis, Maryland. NRA-PVF reported disbursements to Starboard at this




16
    NRA focuses on three major Senate Races, CNN (Sept. 17, 2014),
https://www.cnn.com/2014/09/17/politics/nra-senate-races/index.html.
                                                19
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same address. OnMessage Founding Partner and Starboard Director Bradley Todd was described

in news reports as a Tillis campaign “media strategist.”17

       75.     In the Arkansas race, NRA-PVF paid $1.6 million to Starboard for “independent”

expenditures supporting Cotton or opposing his opponent during the 2014 cycle. Cotton’s

authorized campaign committee, Cotton for Senate, reported paying OnMessage $5.3 million

during the same cycle for media and polling services. Cotton for Senate reported disbursements to

OnMessage at its Annapolis, Maryland address. NRA-PVF reported its disbursements to Starboard

at that same address. OnMessage’s/Starboard’s Todd was described in news reports as an “ad

consultant” for Cotton’s campaign.18

       76.     In the Colorado race, NRA-PVF paid $2.6 million and NRA-ILA paid $529,186 to

Starboard for “independent” expenditures supporting Gardner or opposing his opponent during the

2014 cycle. Gardner’s authorized campaign committee, Cory Gardner for Senate, reported paying

OnMessage $8 million during the same cycle for media and web-related services. Cory Gardner

for Senate reported disbursements to OnMessage at its Alexandria, Virginia offices. NRA-ILA

reported its disbursements to Starboard at that same address. OnMessage’s/Starboard’s Todd was

described in news reports as a “consultant” for the Gardner campaign for OnMessage.19




17
    David Catanese, It’s Tillis v. Hagan in North Carolina, U.S. NEWS & WORLD REPORT (May
6, 2014), https://www.usnews.com/news/articles/2014/05/06/thom-tillis-advances-faces-kay-
hagan-in-north-carolina-senate-race.
18
    Andrea Drusch, Inside Ad-Makers’ Outrageous Arkansas Senate Strategy, THE ATLANTIC
(Sept. 23, 2014), https://www.theatlantic.com/politics/archive/2014/09/inside-ad-makers-
outrageous-arkansas-senatestrategy/435168/.
19
    Alexis Levinson, Democrats Try to Turn Cory Gardner into Todd Akin (Video), ROLL CALL
(July 15, 2014), https://www.rollcall.com/news/hobby-lobby-mark-udall-cory-gardner-2014;
Emily Schultheis, Republicans Will Need to Sweep to Hold Onto Senate Majority in 2016, THE
ATLANTIC (Sept. 16, 2014), https://www.theatlantic.com/politics/archive/2014/09/republicans-
will-need-to-sweep-to-hold-onto-senate-majorityin-2016/457608/.
                                                20
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               C.     2016 Election Cycle

       77.     The Starboard scheme continued in the 2016 Election Cycle with NRA-PVF and

NRA-ILA using Starboard/OnMessage to coordinate payments with presidential candidate Donald

J. Trump and Wisconsin Senate candidate Ron Johnson. NRA-PVF and NRA-ILA reported paying

Starboard approximately $40.7 million for “independent” expenditures and other disbursements

related to advertising for the 2016 cycle, with over $25 million of those payments spent in support

of Trump and Johnson (or against their opponents).

       78.     In the 2016 Wisconsin Senate race, NRA-PVF paid $315,066 and NRA-ILA paid

$48,537 to Starboard for “independent” expenditures supporting Johnson or opposing his

opponent. Johnson’s authorized campaign committee, Ron Johnson for Senate, Inc., reported

paying OnMessage $3.8 million during the same cycle for media, strategy, and advertising

expenses. Ron Johnson for Senate reported disbursements to OnMessage at its Annapolis,

Maryland address. NRA-PVF reported its disbursements to Starboard at that same address.

Bradley Todd was a consultant for Johnson’s campaign through August 2016.20

       79.     In the 2016 presidential race, NRA-PVF and NRA-ILA used Starboard/OnMessage

and National Media to coordinate ad placement with the Trump campaign. NRA-PVF and NRA-

ILA paid Starboard for campaign ads, while Starboard subcontracted ad placement to National

Media affiliate Red Eagle. At the same time, the Trump campaign placed ads with National Media

affiliate AMAG. Like Starboard/OnMessage, National Media, Red Eagle, and AMAG are

functionally indistinguishable.




20
    See, e.g., Bill Glauber, Strategic Change Pays Off for Johnson, MILWAUKEE JOURNAL
SENTINEL (Nov. 9, 2016),
https://www.jsonline.com/story/news/politics/elections/2016/11/09/johnson-lays-out-100-day-
goals-gop/93538466/.
                                                21
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       80.       During the 2016 Election Cycle, NRA-PVF and NRA-ILA reported paying over

$25 million to Starboard for “independent” expenditures supporting Donald J. Trump, or opposing

his opponent. NRA-PVF paid Starboard at OnMessage’s Alexandria address, 817 Slaters Lane,

while NRA-ILA paid Starboard at OnMessages’s Annapolis address. Records on file with the FCC

indicate that National Media, doing business as Red Eagle, placed NRA-PVF and NRA-ILA ads

supporting Trump or attacking his opponent, Hillary Clinton, using the 815 Slaters Lane address

in Alexandria.

       81.       President Trump’s authorized campaign committee, Donald J. Trump for President,

Inc., paid $74.2 million to National Media affiliate AMAG for ad placement during the 2016 cycle,

and records filed with the FCC show that AMAG placed the Trump campaign’s 2016 ads.

       82.       The pattern of ad placement by National Media for both the NRA entities and the

Trump campaign indicates a high level of coordination. Red Eagle placed NRA-PVF’s first 2016

presidential ad campaign at the end of June and continued to place pro-Trump and anti-Clinton

ads for NRA-PVF throughout July and August. These ads were of significant strategic value to the

Trump Campaign, which did not make its first ad placement until late August.21

       83.       According to reports filed with the FCC during the 2016 cycle, at least four National

Media employees placed pro-Trump ads for NRA-PVF and NRA-ILA as employees of “Red

Eagle,” and also placed Donald J. Trump for President Inc.’s ads as employees of “AMAG.”



21
   Contemporaneous reporting described the June 2016 NRA-PVF ad-buy as “coming to the
rescue” because it would “provide air cover for Mr. Trump’s campaign in early June and July” as
well as a “desperately needed television presence on behalf of the Trump campaign, which spent
nothing in June battleground states.” See, Donovan Slack, Exclusive: NRA to run $2 million
Benghazi-themed ad campaign for Trump, USA TODAY (June 29, 2016),
https://www.usatoday.com/story/news/politics/elections/2016/06/29/nra-2-million-ad-campaign-
trump-benghazi/86484306/; Nick Corasaniti, NRA Comes to Rescue of Donald Trump With Ad,
N.Y. TIMES (July 3, 2016), https://www.nytimes.com/2016/07/03/us/politics/nra-comes-to-
rescue-of-donald-trump-with-ad.html.
                                                  22
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Between mid-September and Election Day, the same four National Media employees regularly

alternated between placing pro-Trump/anti-Clinton ads for NRA-PVF and NRA-ILA as “Red

Eagle,” and placing ads for Donald J. Trump for President, Inc. as “AMAG.” Those employees

were:

        a)     Ben Angle, who was previously described on National Media’s website as a “senior

               media buyer” who “strategically place[s] efficient and effective media buys,” and

               “has helped national media develop strategies to combat the challenges of the

               online public file by identifying new ways to negotiate with stations on placement

               and location.”22 In the 2018 book Inside Campaigns: Elections through the Eyes of

               Political Professionals, Angle is described as an architect of the Trump campaign’s

               television advertising strategy. “In mid-September,” the book says, “Angle and his

               boss were summoned to Trump Tower and told their firm would be placing all of

               the Trump campaign’s television advertising during the last seven weeks of the

               campaign.”23

        b)     Kristy Kovatch, who was previously described on National Media’s website as a

               “senior media buyer” who “specializes in television media buying for political

               candidates, issue/advocacy groups and public affairs clients.”24




22
    See, e.g., Trump Compl. at 8, https://campaignlegal.org/sites/default/files/2018-12/12-07-
18%20Trump%20NRA%20complaint%20%28final%29.pdf.
23
        William J Feltus, Kenneth M. Goldstein & Matthew Dallek, Inside Campaigns: Elections
Through the Eyes of Political Professionals 115 (2d ed. 2018); see also Mike Spies, Documents
Point to Illegal Campaign Coordination Between Trump and the NRA, MOTHER JONES (Dec. 6,
2018), https://www.motherjones.com/politics/2018/12/nra-trump-2016-campaign-coordination-
political-advertising/.
24
    See, e.g., Trump Compl. at 8-9, https://campaignlegal.org/sites/default/files/2018-12/12-07-
18%20Trump%20NRA%20complaint%20%28final%29.pdf
                                               23
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       c)      Jon Ferrell, who was previously described on National Media’s website as National

               Media’s “director of accounting,” in a profile emphasizing that Ferrell “ensures that

               every penny allocated for media is spent according to election laws.”25 He has also

               been described in news reports as “National Media chief financial officer.”26

       d)      Caroline Kowalski, who identified herself on LinkedIn as a former “media

               specialist” at National Media from March 2016 until May 2017, and emphasized

               that in that role she “[a]cted as liaison between media buyers and TV, radio, and

               cable networks” and “[r]esearched voter demographic data to help create national,

               statewide and local advertising campaigns for Presidential, senatorial, and

               congressional candidates, issue-advocacy groups, and PACs,” among other

               duties.27

       84.     On May 24, 2016, Kovatch appeared as Red Eagle’s contact person on a Station

Issue Advertising Request Sheet for a flight of NRA-PVF ads mentioning “Hillary Clinton” and

pertaining to the “Presidential General Election 11/8/16.”

       85.     On June 28, 2016, Angle was listed as a Red Eagle representative on a Political

Inquiry Form for NRA-PVF ads labeled “Anti-Clinton (D)” and “Pro-Trump (R).”

       86.     On July 11, 2016, Ferrell signed an agreement form on behalf of NRA-PVF and

Red Eagle for ads pertaining to the “2016 Presidential Election, 11/8/2016 Hillary Clinton &

Donald Trump.”




25
    See, e.g., id. at 9.
26
    Brody Mullins & Devlin Barrett, FBI Searches for Possible Accomplices in Probe of Fallen K
Street Lobbyist, WALL ST. J. (Feb. 16, 2017), https://www.wsj.com/articles/fbi-searches-for-
possible-accomplices-in-probe-of-fallen-k-street-lobbyist-1487285904.
27
    See Trump Compl. at 9, https://campaignlegal.org/sites/default/files/2018-12/12-07-
18%20Trump%20NRA%20complaint%20%28final%29.pdf.
                                                24
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       87.        On August 5, 2016, Ferrell signed another agreement form on behalf of NRA-PVF

and Red Eagle related to “Hillary Clinton for U.S. President, Nov. 8, 2016 General Election, Gun

Control” and slated to run August 8 through August 14, 2016.

       88.        On an August 11, 2016 “traffic instructions” document for an NRA-PVF ad

purchase on a Florida station, Kowalski is the Red Eagle contact, with a @redeagleteam.com email

address. Ferrell signed a check paid to the station, and signed an agreement form. The instructions

do not state whether they relate to a Trump/Clinton ad, but searching for one of the ID numbers

listed on the traffic instructions shows that the same ID number is associated with NRA-PVF’s

“Hillary Will Leave You Defenseless” ad, also called “Jet.”

       89.        On a September 16, 2016 NBC/Telemundo Political Inquiry Record, Kovatch

appeared as AMAG’s contact person purchasing the ads on behalf of “Donald Trump, RNC/Trump

for President.”

       90.        On a Station Issue Advertising Request Sheet dated three days later, September 19,

2016, Kovatch also appeared as Red Eagle’s contact person for a flight of NRA-ILA ads

mentioning Clinton and Trump and pertaining to the 2016 presidential election.

       91.        On September 15, 2016, Red Eagle placed $101,200 in NRA-ILA campaign ads on

the Raycom Sports Network, a syndicator of sports programming, for seven college football games

in September, October, and November 2016. Ferrell signed the accompanying agreement form.

Five days later, on September 20, 2016, AMAG placed $30,000 in Donald J. Trump for President,

Inc. ads on Raycom Sports Network, with the ads slated to run during six football games, with

Angle listed as AMAG’s contact on the accompanying invoice.




                                                  25
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        92.     Five AMAG-placed Trump campaign ads and five Red Eagle-placed NRA-ILA ads

were slated to appear the same afternoons, on the same stations, and during the same five games.

As Mother Jones/The Trace reported:

                The purchases were mirror images of each other. In five of the games, both the
                NRA and Trump bought ads. When the NRA ran two spots either attacking Clinton
                or promoting Trump, the Trump campaign ran just one. And when the Trump
                campaign ran two spots, the NRA ran one. The pattern even persisted when there
                was no direct overlap: In the two games the Trump campaign sat out, the NRA ran
                two ads. And in the one game where the NRA didn’t buy time, Trump bought two
                slots. Side by side, the spots aired across the country, on as many as 120 stations,
                according to data provided by Raycom.

                After reviewing the Raycom records, [Republican media strategist Rick] Wilson
                said the pattern suggests that the purchases were part of a unified strategy by the
                NRA and the Trump campaign. “Sometimes you want to maximize the lowest unit
                rate on the campaign side,” Wilson said. “But you still need more fire on the target.
                This is why the FEC says coordination is illegal.”28

        93.     On a document dated September 28, 2016, Kowalski was listed as the AMAG

contact for advertisements purchased on behalf of Donald J. Trump for President, Inc., where she

was listed with an “@americanmediaag.com” email address. The “traffic instructions” document

for this ad buy is printed on AMAG letterhead, and very closely resembles the Red Eagle “traffic

instructions” document dated August 11, 2016 and also listing Kowalski. While ostensibly coming

from different entities, both are formatted identically, both list Kowalski, and both list the same

mailing address, phone number, and fax number in the header.

        94.     On October 4, 2016, Ferrell signed a Trump campaign/AMAG agreement form as

an “agent for Donald J. Trump for President, Inc.”




28
     Spies, supra note 23.
                                                 26
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          95.      On an October 14, 2016 Station Issue Advertising Request Sheet for NRA-ILA ads

mentioning Clinton, Trump, and the 2016 General Election, Angle is listed as Red Eagle’s contact

person.

          96.      On October 19, 2016, Ferrell signed on behalf of Red Eagle and NRA-PVF for a

“pro-Trump anti-Clinton” ad buy on the Norfolk, VA ABC affiliate, WVEC. The ads were

scheduled to run from October 25 to October 31, 2016.

          97.      Five days later, on October 24, 2016, Ferrell signed on behalf of AMAG and

Donald J. Trump for President, Inc. for “pro-Trump anti-Clinton” ads on the same Norfolk, VA

station.” The ads were scheduled to run from October 25 to October 31, 2016.

          98.      On a Station Issue Advertising Request Sheet dated October 28, 2016, for an ad

flight described as “anti-Clinton anti-Murphy,” Kowalski was listed as Red Eagle’s contact person.

          99.      On a November 3, 2016 contract for a Donald J. Trump for President, Inc. ad flight

scheduled the first week of November, Kovatch was listed as the “buyer” for AMAG.

          100.     On a “traffic instructions” form, dated November 3, 2016, Kowalski appeared as

AMAG’s contact for Donald J. Trump for President, Inc. ads. The same filing also showed

Kovatch as an AMAG contact and Ferrell as the signatory.

          101.     On a November 4, 2016 CBS Political Inquiry Form for ads purchased by Donald

J. Trump for President, Inc. and the Republican National Committee (“RNC”), Kovatch again

appeared as AMAG’s agency contact. On another CBS Political Inquiry Form dated November 4,

2016 for RNC/Donald J. Trump for President, Inc. ads, Kowalski appeared as the agency contact

for AMAG. Also on November 4, 2016, Ferrell signed an agreement form for presidential election

ads placed by AMAG as an “agent of RNC/Trump for President.”




                                                   27
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       102.     The following chart demonstrates how individual National Media staffers toggled

back and forth between their roles at Red Eagle and AMAG while simultaneously working on ad

placement for the Trump Campaign and the purportedly “independent” NRA Affiliates:

 National Media / AMAG /         NRA Affiliate Ad Placement         Donald J. Trump Ad
   Red Eagle Employee                      Activity                  Placement Activity
                                June 28, 2016, Red Eagle
 Ben Angle, Senior Media
                                                                September 15, 2016, AMAG
 Buyer for National Media
                                October 14, 2016, Red Eagle

                                May 24, 2016, Red Eagle
 Kristy Kovatch, Senior                                         September 16, 2016, AMAG
 Media Buyer, National          September 19, 2016 Red Eagle
 Media                                                          November 3, 2016, AMAG
                                                                November 4, 2016, AMAG

                                July 11, 2016, Red Eagle
                                August 5, 2016, Red Eagle
                                August 11, 2016, Red Eagle
 Jon Ferrell, Director of       September 15, 2016, Red Eagle
 Accounting, National                                           October 4, 2016, AMAG
 Media                          October 19, 2016, Red Eagle
                                                                October 24, 2016 AMAG
                                                                November 3, 2016, AMAG
                                                                November 4, 2016, AMAG

                                August 11, 2016, Red Eagle
                                                                September 28, 2016, AMAG
 Caroline Kowalski, Media
                                October 28, 2016, Red Eagle
 Specialist, National Media
                                                                November 3, 2016, AMAG
                                                                November 4, 2016, AMAG

       103.     Following the 2016 election, OnMessage won several industry awards for

presidential campaign ads paid for by NRA-PVF and NRA-ILA on behalf of the “National Rifle

Association’s efforts to elect President Trump.”29 The NRA, however, did not report a single


29
    OnMessage Wins Five Pollie Awards for TV and Digital Work, ONMESSAGE, INC. (Mar. 20,
2017),      https://onmessageinc.com/onmessage-wins-five-pollie-awards-for-tv-and-digital-work/
(last visited Nov. 1, 2021).
                                               28
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disbursement to OnMessage during the 2016 election cycle. Every one of its payments, instead,

was made to Starboard.

                D.     2018 Election Cycle

       104.     NRA-PVF and NRA-ILA continued to operate the illegal coordination scheme

throughout the 2018 election cycle, this time with Montana Senate candidate Matt Rosendale and

Missouri Senate candidate Josh Hawley.

       105.     In the Montana race, candidate Rosendale himself publicly indicated his campaign

was coordinating advertising with the NRA. At a July 18, 2018 fundraiser in Washington, D.C.,

Rosendale stated that NRA-ILA’s political director, Chris Cox, had told him that the group would

be making expenditures supporting Rosendale.30 Rosendale then accurately described both the

content and timing of NRA-ILA’s purportedly “independent” pro-Rosendale advertisements, even

though the ads were not disseminated until weeks later.

       106.     NRA-ILA paid Starboard $383,196 for “independent” expenditures related to

advertising attacking Rosendale’s opponent. At the same time, Rosendale’s authorized campaign

committee, Matt Rosendale for Montana, reported payments to OnMessage of $445,367 for media

and strategy consulting.

       107.     The NRA-ILA advertisements opposing Rosendale’s opponent were placed by Red

Eagle. Matt Rosendale for Montana placed its own communications using National Media and its

affiliate, AMAG. In at least one instance, the same National Media employee placed




30
    Matt Rosendale on NRA support, SoundCloud (uploaded Sept. 13, 2018),
https://soundcloud.com/user-379527848/matt-rosendale-on-nra-support; see also Lachlan
Markay, Exclusive: Audio Reveals Potentially Illegal Coordination Between NRA and Montana
Senate      Hopeful     Matt      Rosendale,      DAILYBEAST          (Sept.     13,    2018),
https://www.thedailybeast.com/exclusive-audio-reveals-potentially-illegal-coordination-
between-nra-and-montana-senate-hopeful-matt-rosendale.
                                               29
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advertisements for both NRA-ILA and Matt Rosendale for Montana with the same Montana TV

station. NRA-PVF also contracted with Starboard for independent expenditures in the Montana

Senate race, which were placed by National Media doing business as “Red Eagle,” at the same

time that Matt Rosendale for Senate continued to pay OnMessage and place advertisements using

National Media and AMAG.

       108.     In the Missouri race, NRA-PVF endorsed Hawley, a candidate who already had

close ties to OnMessage/Starboard. Brad Todd, a founding member of OnMessage and Starboard

Director, served as a consultant for Hawley’s Senate campaign.31 Todd previously served as a

consultant for Hawley’s Attorney General campaign in 2016. Todd’s role included speaking on

behalf of the Hawley campaign throughout the 2018 general election.32

       109.     During October 2018, NRA-PVF reported almost $1 million in payments to

Starboard for “independent” expenditures either supporting Hawley or opposing his opponent.

That same month, NRA-ILA issued a press release about NRA-PVF’s “seven-figure ad

campaign.”

       110.     Also in October 2018, Josh Hawley’s authorized campaign committee, Josh

Hawley for Senate, reported paying $2.2 million to OnMessage for media, advertising, and strategy

consulting.

       111.     Additionally, as of September 30, 2018, Josh Hawley for Senate reported paying

$98,967 to an entity called “First Tuesday” for “Communications Consulting,” “Communications




31
    See Tarini Parti & Henry Gomez, Expanding Front in the Republicans’ Culture Wars: The
NFL, BUZZFEED NEWS (Sept. 5, 2018), https://www.buzzfeednews.com/article/tariniparti/nfl-
protests-football-republicans-midterm-elections; see also Lindsay Wise & Ben Wieder, Hawley
signals a Senate run and Democrats quickly cry foul, MCCLATCHY (Aug. 3, 2017),
https://www.mcclatchydc.com/news/politics-government/article165290077.html.
32
    Expanding Front in the Republicans’ Culture Wars: The NFL, supra note 30.
                                               30
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Consulting/Travel,” or “Travel,” at the same address as OnMessage, 705 Melvin Ave., #105,

Annapolis, Maryland, 21404. Maryland corporate records do not show any results for registered

corporations under the name “First Tuesday,” but Virginia State Corporation Commission records

show that an entity called “First Tuesday: The Ballot Initiative Group” is located at 817 Slaters

Lane, Alexandria Virginia, the same address as OnMessage’s Virginia office. Its articles of

incorporation, dated August 2, 2016, listed the following individuals as directors: Bradley A Todd,

Gail Gitcho, Wesley Anderson, Curtis Anderson, and Graham Shafer. Its 2017 annual report, dated

May 8, 2018, continued to list Todd, Gitcho, and Shafer, as directors, but replaced Wesley and

Curtis Anderson with Orrin Harrison and Timothy Teepell. Todd, Shafer, Teepell, Harrison, and

Wesley and Curtis Anderson all serve on Starboard’s and OnMessage’s boards, and First

Tuesday’s agent, Craig Palik, is also the registered agent for Starboard and OnMessage.

       112.     NRA-PVF and Josh Hawley for Senate also coordinated their ad placements

through National Media. FCC records indicate that NRA-PVF placed its Missouri advertisements

supporting Hawley using National Media affiliate Red Eagle Media. The FCC database does not

show NRA-PVF broadcast advertisements placed with any agency other than Red Eagle Media in

Missouri in 2018. Meanwhile, Josh Hawley for Senate contracted with National Media affiliate

AMAG to make its ad placements. As of September 30, 2018, Josh Hawley for Senate had reported

$45,000 in payments to “National Media Digital” for “digital consulting” at the address 815 Slaters

Lane, Alexandria, VA, 22314.




                                                31
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       113.     FCC documents filed on behalf of NRA-PVF are signed by National Media

employees in their “Red Eagle” capacity.33 FCC documents filed on behalf of Josh Hawley for

Senate are signed by National Media employees in their “AMAG” capacity. For example:

       a)       An undated document uploaded to the FCC database on July 5, 2018 shows Jon

                Ferrell, the same National Media employee who placed ads on behalf of both the

                NRA and the Trump Campaign in the 2016 election, submitting an agreement form

                on behalf of Josh Hawley for Senate in his capacity as an “AMAG” employee. The

                form is signed by “Jon Ferrell, agent for Josh Hawley for Senate.” As noted supra

                ¶ 83, Ferrell is National Media’s “Director of Accounting,” and has described

                himself as “CFO at National Media Inc.”

       b)       On September 6, 2018, Ferrell signed an “agreement form” between Red Eagle and

                the Missouri station KYTV for NRA-PVF ads pertaining to the “Missouri General

                Election U.S. Senate,” this time in his capacity as a “Red Eagle” employee.

       c)       Also on September 6, 2018, Ferrell signed an agreement form filed by AMAG for

                a “coordinated buy” on behalf of “Josh Hawley for Senate/NRSC,” as well as the

                attached “federal candidate certification,” where he signed as “Jon Ferrell, agent

                for Josh Hawley for Senate.”

       d)       A September 19, 2018 “political file disclosure form” filed by Red Eagle with the

                Missouri station KSHB, for NRA-PVF ads referencing Hawley and his opponent,




33
    FCC filings filed on behalf of other political committees or entities also show National Media
employees listed as Red Eagle contacts. For example, an America First Action political file
disclosure form dated October 3, 2018 lists Michael Eyerman as Red Eagle’s contact person, and
a With Honor Fund political file disclosure form dated April 19, 2018 lists Melissa Sharp as Red
Eagle’s contact. Both Eyerman and Sharp previously appeared as employees on National Media’s
website.
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                lists Kristy Kovatch, who also placed NRA and Trump Campaign ads in the 2016

                election, as the “contact person” for Red Eagle and AMAG respectively.

       e)       An October 2018 contract shows AMAG placing $50,175 in Josh Hawley for

                Senate ads with KMOV, and lists John Jay as AMAG’s contact person. According

                to a previous version of National Media’s website, at the time John Jay had been

                National Media’s “Client Media Planner” since 2015.

E.     The NRA’s Coordination Scheme

       114.     Taken together, these facts reveal a continuous scheme by the NRA to unlawfully

coordinate with candidates it supports for federal office, including Donald J. Trump, Thom Tillis,

Cory Gardner, Tom Cotton, Ron Johnson, Matt Rosendale, and Josh Hawley, while evading

detection of its violations of federal law concerning the coordination of advertising

communications through common vendors.

       115.     These   facts,   and   this   ongoing   pattern   of   activity,   demonstrate   that

Starboard/OnMessage and National Media used or conveyed to NRA-PVF and NRA-ILA

information about these candidates’ advertising plans and needs, which informed the creation and

placement of communications made by the NRA-affiliated entities in support of the candidates.

       116.     As part of this scheme, NRA-PVF and NRA-ILA falsely reported coordinated

advertisement spending as independent expenditures to the FEC in Washington, D.C., failed to

report the coordinated advertisement spending as contributions, and failed to disclose their donors,

in violation of FECA. Similarly, Matt Rosendale for Montana and Josh Hawley for Senate failed

to report the coordinated communications as contributions to the FEC in Washington, D.C.

       117.     Accordingly, NRA-PVF and NRA-ILA’s coordinated communication with Donald

J. Trump, Thom Tillis, Tom Cotton, Cory Gardner, Ron Johnson, Matt Rosendale, and Josh



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Hawley through a common vendor amounts to millions of dollars of in-kind contributions to these

candidates in excess of FECA’s contribution limits, and in violation of FECA’s source prohibitions

and reporting requirements.

                                  PROCEDURAL HISTORY

       118.     On July 16, 2018, CLC and an individual, Sandhya Bathija, filed a complaint with

the FEC against NRA-PVF and NRA-ILA seeking enforcement against illegal, unreported, and

excessive in-kind contributions to the Thom Tillis Committee, Cotton for Senate, Cory Gardner

for Senate, and Ron Johnson for Senate in the form of coordinated communications. On August

16, 2018, an Amended Complaint was filed adding Plaintiff Giffords as a complainant.

       119.     On July 20, 2018, the FEC sent CLC and Bathija a letter acknowledging receipt of

the Tillis Complaint, and designating it Matter Under Review (“MUR”) 7427.

       120.     On September 14, 2018, CLC and Giffords jointly filed with the FEC an

administrative complaint showing reason to believe that NRA-ILA made illegal, unreported, and

excessive in-kind contributions to Matt Rosendale for Montana in the form of coordinated

communications, 11 C.F.R. § 109.21.

       121.     On September 21, 2018, the FEC sent CLC and Giffords a letter acknowledging

receipt of the Rosendale Complaint, and designating it MUR 7497.

       122.     On February 8, 2019, CLC and Giffords supplemented the Rosendale Complaint

by providing additional evidence of illegal contributions and further information as to the nature

of the second layer of the coordination scheme, namely that NRA-ILA’s pro-Rosendale

communications were distributed and placed by National Media employees under the trade name

Red Eagle, while Matt Rosendale for Montana placed its own communications using National

Media or its affiliate AMAG.



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       123.     On October 22, 2018, CLC and Giffords jointly filed with the FEC an

administrative complaint showing that NRA-PVF made illegal, unreported, and excessive in-kind

contributions to Josh Hawley for Senate in the form of coordinated communications.

       124.     On October 29, 2018, the FEC sent CLC and Giffords a letter acknowledging

receipt of the Hawley Complaint, and designating it MUR 7524.

       125.     On December 7, 2018, CLC and Giffords jointly filed with the FEC an

administrative complaint showing that NRA-PVF made illegal, unreported, and excessive in-kind

contributions to Donald J. Trump for President, Inc. in the form of coordinated communications.

       126.     On December 13, 2018, the FEC sent CLC and Giffords a letter acknowledging

receipt of the Trump Complaint, and designating it MUR 7553.

       127.     Despite the ample evidence in each of Giffords’s four detailed complaints, the FEC

failed to take action on the matters.

       128.     On April 24, 2019, more than 120 days after the filing of the last of Plaintiff’s four

administrative complaints, Giffords filed a civil action in the U.S. District Court for the District of

Columbia under 52 U.S.C. § 30109(a)(8)(A), which provides Plaintiff a cause of action for “a

failure of the Commission to act on such complaint during the 120-day period beginning on the

date the complaint is filed.”

       129.     The parties subsequently filed cross-motions for summary judgment and, on

September 30, 2021, the Court issued an order denying the Commission’s motion for summary

judgment and granting Giffords’s cross-motion for summary judgment. Order, Giffords v. FEC,

No. 1:19-cv-1192 (D.D.C. Sept. 30, 2021). The Court found that the FEC’s failure to act on the

administrative complaints was contrary to law, and ordered the FEC to act on Giffords’s




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complaints within 30 days by making a reason-to-believe determination under 52 U.S.C.

§ 30109(a)(2). Id.

       130.     The Commission failed to conform with the Court’s order to act within 30 days.

See Order, ECF 75, Giffords v. FEC, No. 1:19-cv-1192 (D.D.C. Nov. 1, 2021). On November 1,

2021, the Court issued an Order declaring that the FEC had “failed to conform” to the September

30 Order and authorizing Plaintiff Giffords to “bring ‘a civil action to remedy the violations

involved in the original complaints’” against the NRA “[p]ursuant to 52 U.S.C. § 30109(a)(8)(C).”

Id.

       131.     Plaintiff Giffords hereby brings this civil action against the NRA to “remedy the

violations involved in the original complaints.” 52 U.S.C. § 30109(a)(8)(C).

                                        CAUSES OF ACTION

          COUNT 1: NRA-PVF and NRA-ILA Engaged in an Ongoing Scheme to Make
          Excessive In-Kind Contributions to Federal Candidates in Violation of 52 U.S.C
                                           § 30116(a).

       132.     Plaintiff repeats and realleges paragraphs 1-131.

       133.     Since 2014, NRA-PVF and NRA-ILA have engaged in a continuous and ongoing

scheme to violate FECA by making millions of dollars in excessive contributions, in the form of

coordinated communications, to campaigns for federal office.

       134.     Federal law limits the dollar amount of contributions a candidate for federal office

may receive in an election from a political committee or individual donor. 52 U.S.C § 30116(a)(1).

In the 2014 cycle, the contribution limit for all persons other than multicandidate political

committees was $2,600 per election; in the 2016 and 2018 cycles it was $2,700 per election. The

limit on contributions from multicandidate political committees to candidates is $5,000 per

election. 52 U.S.C. § 30116(a)(2)(A).



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       135.     NRA-PVF and NRA-ILA violated 52 U.S.C. § 30116(a)(2)(A) by making

contributions in excess of the limits to the Tillis, Cotton, and Gardner campaigns in 2014, the

Johnson and Trump campaigns in 2016, and the Rosendale and Hawley campaigns in 2018.

              COUNT 2: NRA-ILA Engaged in an Ongoing Scheme to Make Corporate
               Contributions to Federal Candidates in Violation of 52 U.S.C § 30118(a).

       136.     Plaintiff repeats and realleges paragraphs 1-135.

       137.     Since 2014, NRA-ILA has engaged in a continuous and ongoing scheme to violate

FECA by making millions of dollars in illegal corporate contributions, in the form of coordinated

communications, to candidates for federal office.

       138.     Federal law prohibits corporations from making contributions to candidates. 52

U.S.C. § 30118(a).

       139.     NRA-ILA violated 52 U.S.C. § 30118(a) by making in-kind contributions with

corporate funds to the Tillis and Gardner campaigns in 2014, the Johnson and Trump campaigns

in 2016, and the Rosendale campaign in 2018.

          COUNT 3: NRA-PVF Failed to Report Contributions to Federal Candidates in
                Violation of 52 U.S.C § 30104(b)(4) and 11 C.F.R. § 109.21(b).

       140.     Plaintiff repeats and realleges paragraphs 1-139.

       141.     Since 2014, NRA-PVF has made millions of dollars in in-kind contributions to

candidates for federal office, in the form of coordinated contributions, but failed to report those

disbursements to the FEC as contributions, and instead misstated those disbursements as

independent expenditures in violation of 52 U.S.C. § 30104(b)(4) and 11 C.F.R. § 109.21(b).

           COUNT 4: NRA-ILA Misstated Reportable Financial Activity to the Federal
            Election Commission in Violation of 52 U.S.C § 30104(b)(4) and 11 C.F.R.
                                          § 109.21(b).

       142.     Plaintiff repeats and realleges paragraphs 1-141.



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       143.     Since 2014, NRA-ILA has filed false reports with the FEC describing millions of

dollars in illegal corporate contributions to candidates for federal office, in the form of coordinated

communications, as independent expenditures, in violation of 52 U.S.C. § 30104(b)(4) and 11

C.F.R. § 109.21(b).

         COUNT 5: Josh Hawley for Senate Accepted Excessive In-Kind Contributions in
                       2018 in Violation of 52 U.S.C § 30116(a)(2)(A).

       144.     Plaintiff repeats and realleges paragraphs 1-143.

       145.     Federal law limits the amount of a contribution a candidate for federal office may

receive in an election from any person, including a political committee or individual donor. 52

U.S.C § 30116(a)(1), (2). The limit on contributions to candidates from a multicandidate political

committee is $5,000 per election. 52 U.S.C. § 30116(a)(2)(A).

       146.     In 2018, Josh Hawley for Senate accepted contributions of up to $973,411 from

NRA-PVF, in the form of coordinated expenditures, in violation of 52 U.S.C. § 30116(a)(2)(A).

        COUNT 6: Matt Rosendale for Montana Accepted Illegal Corporate Contributions
                        in 2018 in Violation of 52 U.S.C § 30118(a).

       147.     Plaintiff repeats and realleges paragraphs 1-146.

       148.     Federal law prohibits candidates for federal office from accepting contributions

from corporations. 52 U.S.C § 30118(a).

       149.     In 2018, Matt Rosendale for Montana accepted contributions of up to $383,196

from NRA-ILA, in the form of coordinated expenditures, in violation of 52 U.S.C.

§ 30116(a)(2)(A).

        COUNT 7: Matt Rosendale for Montana Accepted Excessive In-Kind Contributions
                       in 2018 in Violation of 52 U.S.C § 30116(a)(1).

       150.     Plaintiff repeats and realleges paragraphs 1-149.




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       151.     Federal law limits the dollar amount of a contribution a candidate for federal office

may receive in an election from any person. 52 U.S.C § 30116(a)(1). In the 2018 cycle, the

contribution limit for all persons other than multicandidate political committees was $2,700 per

election. The limit on contributions from multicandidate political committees is $5,000 per

election. 52 U.S.C. § 30116(a)(2)(A).

       152.     In 2018, Matt Rosendale for Montana accepted contributions of up to $383,196

from NRA-ILA, in the form of coordinated expenditures, in violation of 52 U.S.C. § 30116(a)(1).

            COUNT 8: Josh Hawley for Senate Failed to Report Contributions in 2018 in
                  Violation of 52 U.S.C § 30104(b)(4), 11 C.F.R. § 109.21(b).

       153.     Plaintiff repeats and realleges paragraphs 1-152.

       154.     In 2018, Josh Hawley for Senate accepted contributions of up to $973,411 from

NRA-PVF, in the form of coordinated expenditures, but failed to report those contributions to the

FEC in violation of 52 U.S.C § 30104(b)(4) and 11 C.F.R. § 109.21(b).

        COUNT 9: Matt Rosendale for Montana Failed to Report Contributions in 2018 in
                 Violation of 52 U.S.C § 30104(b)(4), 11 C.F.R. § 109.21(b).

       155.     Plaintiff repeats and realleges paragraphs 1-154.

       156.     In 2018, Matt Rosendale for Montana accepted contributions of up to $383,196

from NRA-ILA, in the form of coordinated expenditures, but failed to report those contributions

to the FEC in violation of 52 U.S.C § 30104(b)(4) and 11 C.F.R. § 109.21(b).

                                     REQUESTED RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       1.       Declare that Defendants NRA-PVF and NRA-ILA made excessive and unreported

                in-kind contributions to the Thom Tillis Committee, Cotton for Senate, Cory

                Gardner for Senate, Ron Johnson for Senate, Matt Rosendale for Montana, Josh



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       Hawley for Senate, and Donald J. Trump for President, Inc. in violation of 52

       U.S.C. § 30116(a); 52 U.S.C. § 30104(b); and 11 C.F.R 109.21(b);

2.     Declare that Defendant NRA-ILA made illegal corporate contributions, in the form

       of coordinated communications, to candidates for federal office, in violation of 52

       U.S.C. § 30118(a);

3.     Declare that Defendant Josh Hawley for Senate accepted excessive in-kind

       contributions in the form of coordinated communications from NRA-PVF in

       violation of 52 U.S.C §§ 30116(a)(1);

4.     Declare that Defendant Matt Rosendale for Montana accepted excessive and illegal

       in-kind contributions in the form of coordinated communications from NRA-ILA

       in violation of 52 U.S.C § 30116(a)(1) and 30118(a);

5.     Order Defendants to file corrective reports with the FEC for each periodic report

       that a Defendant was required, but failed, to report in-kind contributions made or

       accepted in the form of coordinated communications, or misstated in-kind

       contributions as independent expenditures;

6.     Enjoin NRA-PVF and NRA-ILA from continuing to engage in their ongoing

       scheme to violate FECA by making excessive, illegal, and unreported contributions

       to federal candidates through the use of common vendors;

7.     Enjoin Defendants Matt Rosendale for Montana and Josh Hawley for Senate from

       accepting any future excessive or illegal in-kind contributions in the form or

       coordinated communications with the NRA-PVF or NRA-ILA;




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      8.      Assess an appropriate civil penalty against each Defendant in accordance with 11

              C.F.R. § 111.24, to be paid to the United States, for each violation Defendants are

              found to have committed;

      9.      Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action; and

      10.     Grant such other relief as the Court may deem just and proper.

November 02, 2021                               Respectfully submitted,



                                                /s/ Molly E. Danahy
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